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                                 SAN DIEGO DIVISION
12

13                                              Case No. 3:16-cv-2583
14
      WHITEWATER DRAW NATURAL
      RESOURCE CONSERVATION
15
      DISTRICT, et al.,
            Plaintiffs,                         PROOF OF SERVICE
16

17
            v.

18
      JOHN F. KELLY, et al.,
                                                Hon. H. James Lorenz
19
            Defendants.

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                                                            Case No. 3:16-cv-2583
     Case 3:16-cv-02583-L-BLM Document 38-1 Filed 10/06/17 PageID.1694 Page 2 of 2




 1
                                       Certificate of Service

 2
                  I hereby certify that on October 6, 2017, I electronically filed the foregoing
 3
     document, Joint Status Report, with the Clerk of the Court via the CM/ECF system,
 4
     which will provide service to counsel for the parties.
 5

 6
                                             /s/ S. Derek Shugert
 7                                          S. DEREK SHUGERT
 8
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